                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF MISSOURI
                                  WESTERN DIVISION


HUGH M. ELLIS,

                        Plaintiff,

v.
                                                         Case No. 19-cv-3377
RK ENDEAVORS SPRINGFIELD, LLC
d/b/a CBD AMERICAN SHAMAN,
and
SHAMAN BOTANICALS, INC.,

                        Defendants.



                                     NOTICE OF REMOVAL

        Please take notice that Defendant Shaman Botanicals, Inc. (“Shaman Botanicals”), pur-

suant to 28 U.S.C. §§ 1331, 1441 and 1446, hereby removes the above-captioned action to this

Court from the Circuit Court of Greene County, Missouri. As grounds for removal, Shaman Bo-

tanicals states as follows:

        1.      On August 27, 2019, Plaintiff commenced a civil action styled: Hugh M. Ellis v.

RK Endeavors Springfield, LLC d/b/a CBD American Shaman and Shaman Botanicals, Inc., Case

No. 1931-CC01075 in the Circuit Court of Greene County, Missouri. A copy of the petition filed

in state court is attached hereto as Exhibit 1. Copies of all other process, pleadings, and orders

on file in the state court are attached hereto as Exhibit 2.

        2.      Defendant RK Endeavors Springfield, LLC has not yet been served with a copy of

the summons and petition in the state court action. Shaman Botanicals was served a copy of the

summons and petition in the state court action on September 25, 2019. This matter is timely re-



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moved under 28 U.S.C. § 1446(b)(1), which requires that a notice of removal be filed within thir-

ty (30) days of service of the summons and petition on the removing party.

        3.      28 U.S.C. § 1441(a) provides for removal of “any civil action in a State court of

which the district courts of the United States have original jurisdiction.” Pursuant to the federal

question statute, 28 U.S.C. § 1331, federal district courts “shall have original jurisdiction of all

civil actions arising under the Constitution, laws, or treaties of the United States.” Federal juris-

diction exists in this case because Plaintiff’s claims regarding regulation and control of hemp and

related products arise under the laws of the United States.

        4.      Plaintiff frames his claims in terms of Missouri law, but this does not preclude the

exercise of federal question jurisdiction. “Removal of a complaint setting forth state law claims is

proper under the well-pleaded complaint rule where (1) federal law completely preempts a plain-

tiff’s state-law claim, or (2) an issue of federal law is a necessary and central element of plaintiff’s

state law claims.” Palazzolo v. Harris-Stowe State Univ., No. 4:16-CV-00826, 2106 WL 3878470,

at *2 (E.D. Mo. July 18, 2016).

        5.      Shaman Botanicals distributes hemp-derived CBD products to independent retail-

ers (like Defendant RK Endeavors Springfield, LLC) for retail sale to consumers (like Plaintiff).

The product at issue here was lawfully manufactured by a separate company outside the State of

Missouri using legally grown hemp and delivered through interstate commerce for eventual sale

to Plaintiff in Springfield, Missouri.

        6.      Plaintiff’s Petition claims that Shaman Botanicals violated the Missouri Merchan-

dising Practices Act, committed misrepresentations and engaged in negligence per se by purport-

edly failing to abide by Missouri’s regulatory scheme concerning the manufacture, purchase, dis-




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tribution, processing and sale of hemp-based products. In particular, Plaintiff alleges that Shaman

Botanicals acted as an unauthorized hemp distributor because it obtained its hemp-based prod-

ucts outside the State of Missouri and outside the Missouri Department of Agriculture’s registra-

tion system for “cultivation and production facilities” and “cannabidiol oil care centers.” (See,

e.g., Pet. ¶¶ 25-30, 54, 62, 72, 82-84.) By targeting Shaman Botanical’s extraterritorial activities,

Plaintiff’s theories of liability seek to establish a closed system in which all activities culminating

in the sale of hemp-derived CBD products in the State of Missouri must occur within the State in

strict accordance with Missouri law.

       7.      Plaintiff’s claims are inherently federal in nature because it is impossible to resolve

those claims without applying controlling federal law regarding the transportation and shipment

of hemp-derived CBD products in interstate commerce. Under the Agricultural Act of 2014 (the

“2014 Farm Bill”), low-THC industrial hemp—i.e., the type used to make CBD products—was

removed from the federal Controlled Substances Act and States were allowed to establish agricul-

tural pilot programs for hemp production. See 7 U.S.C. § 5940. The Agricultural Act of 2018 (the

“2018 Farm Bill”) cemented the 2014 Farm Bill by confirming the removal of hemp and THC in

hemp from the list of controlled substances. See 21 U.S.C. § 802(16)(B)(i); id. § 812(c)(17). Sig-

nificantly, the 2018 Farm Bill also expressly provides that States cannot “prohibit the transporta-

tion or shipment of hemp or hemp products” lawfully produced in other States. Agricultural Im-

provement Act of 2018, Pub. L. No. 115-334, § 10114(b), 132 Stat. 4490, 4914 (2018). The

General Counsel of the United States Department of Agriculture recognizes that “this provision

preempts State law to the extent such State law prohibits the interstate transportation or ship-

ment of hemp that has been [lawfully produced].” Legal Opinion on Certain Provisions of the




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Agriculture Improvement Act of 2018 Relating to Hemp, at 7 (May 28, 2019) available at:

https://www.ams.usda.gov/sites/default/files/HempExecSumandLegalOpinion.pdf

       8.      Here, Plaintiff interprets and attempts to apply Missouri law in a way that would

interfere with interstate commerce by restricting manufacture, purchase, distribution, processing

and sale of hemp-based products to purely intrastate activities. For instance, Plaintiff alleges that

the only way for Shaman Botanicals to lawfully possess and distribute hemp products in the State

of Missouri is for those products to originate from a “cultivation and production facility” located

in, and licensed by, the State of Missouri. (See Pet. ¶¶ 25, 35-38, 54(h).) In essence, the crux of

Plaintiff’s case is that hemp-based CBD products legally manufactured in other states and dis-

tributed through interstate commerce cannot be possessed or sold in the State of Missouri under

any circumstances because the products are not controlled from start to finish under the State of

Missouri’s regulatory system.

       9.      Plaintiff’s claims trigger federal question jurisdiction under Section 1331 because

they are completely preempted by the express provision of the 2018 Farm Bill prohibiting States

from interfering with the interstate transportation and shipment of hemp-derived CBD products.

At a minimum, federal jurisdiction exists in this case because a federal issue—i.e., the operation

of the 2018 Farm Bill—is a necessary and central element of Plaintiff’s claims.

       10.     “The presence of a single federal claim gives the defendant the right to remove an

entire case to federal court.” Palazzolo, 2106 WL 3878470, at *3. To the extent federal question

jurisdiction is lacking over any of the claims in Plaintiff’s Petition, the Court should exercise sup-

plemental jurisdiction over those claims, which are so related to the federal question as to form

part of the same case or controversy. See 28 U.S.C. § 1367(a).




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        11.       In accordance with Section 1441(a), Shaman Botanicals has removed this case to

the Western Division of this Court and designates Kansas City as the place of trial. Shaman Bo-

tanicals requests a trial by jury on all claims and issues so triable.

        12.       In accordance with Section 1446(a), copies of the record and proceedings in the

state court action – including all process, pleadings and orders – are attached to this Notice of

Removal.

        13.       In accordance with Section 1446(b)(2)(A), Defendant RK Endeavors Springfield,

LLC is not required to consent to removal because it has not yet been properly joined and served

in this action.

        14.       In accordance with Section 1446(d), Shaman Botanicals will promptly serve writ-

ten notice of removal to Plaintiff’s attorneys of record in the state court action and file with the

state court a copy of this Notice of Removal.

        15.       By this Notice of Removal, Shaman Botanicals is not waiving any affirmative de-

fenses that it may have. Shaman Botanicals does not concede that Plaintiff has stated any viable

claim for relief against it, and Shaman Botanicals denies any and all liability in this action.

        WHEREFORE, Defendant Shaman Botanicals, Inc. files this Notice of Removal and re-

quests that the Court assume full jurisdiction over all of the claims asserted in this action under

28 U.S.C. §§ 1331, 1441 and 1446.




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                                          Respectfully submitted,

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                                          -and-

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                              CERTIFICATE OF SERVICE

       The undersigned attorney hereby certifies that the foregoing document was served this
25th day of October, 2019, via electronic mail to the following counsel of record:

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